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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.
                                                           ORDER
JOSUE ZAMORA QUINTERO

                  Defendant.

       This matter is before the Court on the defendant's pro se motion (filing
451) for a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2), U.S.S.G. §
1B1.10, and U.S.S.G. § app. C, amend. 782. The defendant's motion will be
denied because he has already received the benefit of Amendment 782.
       The defendant was sentenced on May 2, 2014, and the Court sustained
the parties' motion for a two-level decrease, pursuant to Justice Department
policy, during the interim period before Amendment 782 became fully
effective. See filing 244 at 3. As part of that motion, the defendant stipulated
that he would seek no further decrease. See filing 238. And, having already
received the benefit of the two-level reduction contemplated by Amendment
782, he is entitled to no further decrease.

      IT IS ORDERED:

      1.    The defendant's pro se motion for a sentence reduction
            (filing 451) is denied.

      2.    The Clerk of the Court shall provide notice of this order to
            the defendant at his last known address.

      Dated this 3rd day of January, 2017.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
